      Case 1:08-cr-00029-MEF-TFM Document 28 Filed 04/16/08 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT FOR
                      THE MIDDLE DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )          CASE NO. 1:08-cr-029-MEF
                                               )                     (WO)
LEMONT ISRAEL NORWOOD                          )

                                        ORDER

       On April 8 , 2008, the defendant filed a Motion to Continue Trial (Doc. #24). While

the granting of a continuance is left to the sound discretion of the trial judge, United States

v. Warren, 772 F.2d 827, 837 (11th Cir. 1985), the court is, of course, limited by the

requirements of the Speedy Trial Act, 18 U.S.C. § 3161. The Speedy Trial Act provides

generally that the trial of a defendant in a criminal case shall commence within 70 days of

the latter of the filing date of the indictment or the date the defendant appeared before a

judicial officer in such matter. 18 U.S.C. §3161(c)(1). See United States v. Vasser, 916

F.2d 624 (11th Cir. 1990).

       The Act excludes from this 70 day period any continuance that the judge grants "on

the basis of his findings that the ends of justice served by taking such action outweigh the

best interest of the public and the defendant in a speedy trial." 18 U.S.C. § 3161(h)(8)(A).

       The motion states that defense counsel anticipates a change in plea but more time is

needed to refine the details of a plea. Counsel for the government does not oppose a

continuance. Consequently, the court concludes that a continuance of this case is warranted

and that the ends of justice served by continuing this case outweighs the best interest of the
       Case 1:08-cr-00029-MEF-TFM Document 28 Filed 04/16/08 Page 2 of 2




public and the defendant in a speedy trial. See United States v. Davenport, 935 F.2d 1223,

1235 (11th Cir. 1991)(reasonable time necessary for effective preparation is a significant

factor for granting a continuance under the Speedy Trial Act).

       Accordingly, it is hereby ORDERED:

       1. That the defendant's motion filed on April 8, 2008 is GRANTED;

       2. That the trial of this case is continued from the April 21, 2008 trial term to the June

23, 2008 trial term in Dothan, Alabama.

       3. That the Magistrate Judge conduct a pretrial conference prior to the June 23, 2008

trial term.

       DONE this the 16th day of April, 2008.




                                                    /s/ Mark E. Fuller
                                            CHIEF UNITED STATES DISTRICT JUDGE




                                               2
